Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 1 of 23



                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                         Case No.: 11-20152-CIV-ALTONAGA-BROWN


   GUSTAVO ABELLA,

          Plaintiff,

   vs.

   OFFICER JUAN RODRIGUEZ, et al.,

        Defendants.
   ________________________________________/

                   PLAINTIFF’S FOURTH AMENDED COMPLAINT

                                        INTRODUCTION

                  1.    This is a civil rights action on behalf of Plaintiff GUSTAVO ABELLA

   (hereinafter “MR. ABELLA”), a civic activist, against Miami-Dade Police Officers assigned to

   the Town of Miami Lakes, FL., who used the power of their office to retaliate against MR.

   ABELLA for his advocacy criticizing the city and its policies and for MR. ABELLA’s filing of

   complaints against certain Miami Lakes police officers and their supervisor. In an effort to

   silence and discredit MR. ABELLA, the police department waged a campaign against the Abella

   family, which included threats, intimidation, and harassment. These actions were taken to

   silence MR. ABELLA and to punish him for exercising his First Amendment rights.

                  2.    This action for declaratory and monetary damages is brought pursuant to

   42 U.S.C. Sections 1983 and 1988, the First and Fourteenth Amendments to the United States

   Constitution, and under the laws of the State of Florida against former and current Miami Dade

   County police officers assigned to the Town Of Miami Lakes, FL.

                                          Page 1 of 23               Abella v. Officer Juan Rodriguez, et al.
                                                                     Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 2 of 23



                                   JURISDICTION AND VENUE

                  3.      This action arises under the constitution and laws of the United States,

   particularly the First and Fourteenth Amendments to the United States Constitution.

                  4.      The jurisdiction of this Court is invoked pursuant to 28 U.S.C. Sections

   1331 and 1343, as a case arising under the laws of the United States and under 42 U.S.C. § 1983,

   as a case seeking to enforce rights and privileges secured by the laws of the United States and on

   the supplemental jurisdiction of this Court to entertain claims arising under state law pursuant to

   28 U.S.C. Section 1367.

                  5.      Venue is proper in this district because it is where the events complained

   of occurred.

                  6.      All conditions precedent to the maintenance of this action have been

   performed or have occurred prior to its institution including those set forth in Florida Statute

   Chapter 768.

                                            THE PARTIES

                  7.      Plaintiff, GUSTAVO ABELLA, is an individual and a resident of Miami-

   Dade County, Florida. MR. ABELLA is a citizen of the United States and a qualified and legally

   registered Florida voter.

                  8.      Defendant OFFICER JUAN RODRIGUEZ (hereinafter “OFFICER

   RODRIGUEZ”) was at all times relevant to this complaint duly appointed and acting as a

   Miami-Dade police officer assigned to the Town of Miami Lakes, FL., acting under color of law,

   to wit, under color of statutes, ordinances, regulations, policies, customs and usages of the State

   of Florida and/or the Miami Dade County Police Department. OFFICER RODRIGUEZ was also

   the Community Service Officer for the Town of Miami Lakes, FL., during the relevant time


                                            Page 2 of 23                Abella v. Officer Juan Rodriguez, et al.
                                                                        Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 3 of 23



   period at issue. Defendant OFFICER RODRIGUEZ is being sued in his individual capacity as a

   police officer with the Miami Dade County Police Department.

                  9.        Defendant OFFICER BENJAMIN RIVERA (hereinafter “OFFICER

   RIVERA”) was at all times relevant to this complaint duly appointed and acting as a Miami-

   Dade police officer assigned to the Town of Miami Lakes, FL., acting under color of law, to wit,

   under color of statutes, ordinances, regulations, policies, customs and usages of the State of

   Florida and/or the Miami Dade County Police Department. Defendant OFFICER RIVERA is

   being sued in his individual capacity as a police officer with the Miami Dade County Police

   Department.

                  10.       Defendant OFFICER RICHARD BAEZ (hereinafter “OFFICER BAEZ”)

   was at all times relevant to this complaint duly appointed and acting as a Miami-Dade police

   officer assigned to the Town of Miami Lakes, FL., acting under color of law, to wit, under color

   of statutes, ordinances, regulations, policies, customs and usages of the State of Florida and/or

   the Miami Dade County Police Department. Defendant OFFICER BAEZ is being sued in his

   individual capacity as a police officer with the Miami Dade County Police Department.

                  11.       Defendant former Miami Lakes Police Major FRANK C. BOCANEGRA

   (hereinafter “MAJOR BOCANEGRA”) was at all times relevant to this complaint duly

   appointed and acting as Major for the Miami Dade County Police Department assigned to the

   Town of Miami Lakes, FL., acting under color of law, to wit, under color of statutes, ordinances,

   regulations, policies, customs and usages of the State of Florida and/or the Miami Dade County

   Police Department.       Defendant MAJOR BOCANEGRA is being sued in his official and

   individual capacities.




                                            Page 3 of 23               Abella v. Officer Juan Rodriguez, et al.
                                                                       Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 4 of 23



                  12.      At all material times, and in all of their acts described hereto, Defendants

   were acting under color of state law and color of their authority as public officials and public

   employees. At all times, Defendants were engaged in conduct that was the proximate cause of

   the violations of Plaintiffs federally protected rights, as more specifically described below.

                                      STATEMENT OF FACTS

                  13.     In February of 2007, MR. ABELLA, a resident of Miami Lakes, attended

   a town hall meeting hosted by the Town of Miami Lakes, FL. The purpose of the meeting was to

   discuss a proposed town ordinance involving the use and placement of commercial signs on the

   streets and thoroughfares of the Town of Miami Lakes.            At the meeting, MR. ABELLA

   expressed his dissent towards the proposed ordinance.

                  14.     In exercise of his First Amendment right to freely express his political

   views, MR. ABELLA placed a political sign on his truck, which stated: “Councilmember Nancy

   Simon wants to pollute Miami Lakes with signs.”

                  15.     A few days after the Town Hall meeting, MR. ABELLA dropped his

   daughter off at the Miami Lakes K-8 Center located at 14250 NW 67th Ave in Miami Lakes, FL.

   While leaving the school parking lot, OFFICER RODRIGUEZ flagged MR. ABELLA to pull

   over and then ordered him to remove the political sign attached to his truck.

                  16.     When MR. ABELLA asked OFFICER RODRIGUEZ the reason for

   stopping him, OFFICER RODRIGUEZ responded that he was “ordered” to have MR. ABELLA

   remove the sign. OFFICER RODRIGUEZ refused to name the person who ordered him to have

   MR. ABELLA remove the sign.




                                             Page 4 of 23                 Abella v. Officer Juan Rodriguez, et al.
                                                                          Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 5 of 23



                  17.     OFFICER RODRIGUEZ threatened to issue MR. ABELLA a citation if

   he did not remove the sign. MR. ABELLA refused to remove the sign from his truck despite

   being threatened by OFFICER RODRIGUEZ.

                  18.     Since the February 2007 Town Hall meeting and in retaliation for MR.

   ABELLA’s exercise of his rights secured by the First Amendment to the United States

   Constitution, MR. ABELLA and his family have been repeatedly harassed and intimidated by

   Miami Dade County police officers assigned to the Town of Miami Lakes, FL, including

   Defendants OFFICER RODRIGUEZ, OFFICER BAEZ, OFFICER RIVERA, and their

   commanding officer, MAJOR BOCANEGRA.

                  19.     On or about March 13, 2007, MR. ABELLA and his wife attended

   another Town of Miami Lakes Town Hall meeting. OFFICER RODRIGUEZ also attended the

   Town Hall meeting. During this meeting, MR. ABELLA and his wife voiced their opinions

   about adult education courses and criticized the program coordinator for her treatment of parents

   at the Community Center West.

                  20.     The next day, March 14, 2007, OFFICER RODRIGUEZ issued a Watch

   Order for police presence coinciding with the days and times MR. ABELLA’s daughter had

   ballet and martial arts class at the Community West Center. According to the Town of Miami

   Lakes, FL, website, http://miamilakes-fl.gov/index.php, “[w]atch orders are a service that we

   provide for our town residents when you will be away for an extended period of time and would

   like an officer to periodically check your residence or business until your return.”

                  21.     Shortly after receiving notice of the Watch Order, MR. ABELLA’s wife

   emailed MAJOR BOCANEGRA, Town Manager Alex Rey, and Mayor Wayne Slaton, to ensure

   that proper procedures were followed when the Watch Order for the Community Center West


                                             Page 5 of 23                Abella v. Officer Juan Rodriguez, et al.
                                                                         Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 6 of 23



   was issued.    In response, MR. ABELLA and his wife received an email from MAJOR

   BOCANEGRA stating that all proper procedures were followed. The following day, MR.

   ABELLA’s wife met with Town Mayor Wayne Slaton. During this meeting, MR. ABELLA’s

   wife discussed the Watch Order with Mayor Slaton. Mayor Slaton informed MR. ABELLA’s

   wife that the Watch Order was not in effect because the order was procedurally improper.

                  22.     On or about April 13, 2007, MR. ABELLA and his wife were dropping

   their daughter off at school and noticed OFFICER RODRIGUEZ parked across the street from

   the school. MR. ABELLA pulled to the side of the school car line while his wife escorted their

   daughter to the door of the school. As MR. ABELLA waited for his wife to return, OFFICER

   RODRIGUEZ walked over to where MR. ABELLA was parked and ordered him to move his

   car. MR. ABELLA was surrounded by other cars and could not move his car. OFFICER

   RODRIGUEZ issued MR. ABELLA a parking citation.

                  23.     On or about April 15, 2007, MR. ABELLA’s wife sent an email to Robert

   Parker, Director of the Miami Dade Police Department, and Alex Rey, Miami Lakes Town

   Manager. The email reported that OFFICER RODRIGUEZ ordered MR. ABELLA to remove a

   political sign from his truck and had been harassing the Abella family at their daughter’s school

   and at Community Center West.

                  24.     The next day, on April 16, 2007, Town Manager Alex Rey forwarded the

   complaint email to MAJOR BOCANEGRA and ordered MAJOR BOCANEGRA to “[p]lease

   handle through appropriate police procedures. Send me a report with the conclusions.”

                  25.     On or about January 8, 2008, MR. ABELLA’s wife requested a copy of

   the report and was told via email that “there is no record responsive to this request.”




                                             Page 6 of 23                 Abella v. Officer Juan Rodriguez, et al.
                                                                          Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 7 of 23



                  26.     On or about January 31, 2008, OFFICER RODRIGUEZ appeared as a

   witness in a hearing for a different matter. During that hearing, OFFICER RODRIGUEZ was

   asked who ordered him to tell MR. ABELLA to remove the political sign from his truck.

   OFFICER RODRIGUEZ responded that he “did not remember.”

                  27.     On or about June 3, 2008, OFFICER RODRIGUEZ appeared outside MR.

   ABELLA’s residence and followed the Abellas as they drove their daughter to school.    Later

   that day, MR. ABELLA contacted his attorney, Mr. Joseph Glick, who later contacted MAJOR

   BOCANEGRA and informed him of repeated incidents of harassment carried out by OFFICER

   RODRIGUEZ.

                  28.      On or about June 4, 2008, OFFICER RODRIGUEZ again followed MR.

   ABELLA as he and his wife drove their daughter to school.

                  29.      On June 5, 2008, MR. ABELLA sent a letter to MAJOR BOCANEGRA

   detailing his complaints against OFFICER RODRIGUEZ. A copy of this letter was also sent to

   Major David Rifkin of Internal Affairs, Town of Miami Lakes Mayor Wayne Slaton, and Town

   of Miami Lake Town Manager Alex Rey.            MAJOR BOCANEGRA failed to contact MR.

   ABELLA or the Abella’s attorney in response to this letter.

                  30.     On August 12, 2008, MAJOR BOCANEGRA ordered an inferior officer,

   Officer Salazar, to issue MR. ABELLA a parking ticket while MR. ABELLA was briefly parked

   outside of the Town of Miami Lakes City Hall building while picking up public records he had

   requested.   While entering City Hall, MR. ABELLA saw MAJOR BOCANEGRA in the

   hallway. MAJOR BOCANEGRA taunted MR. ABELLA by pointing and laughing at MR.

   ABELLA as he waited for an elevator. Within a few minutes MR. ABELLA had retrieved his

   records and left the building.


                                            Page 7 of 23           Abella v. Officer Juan Rodriguez, et al.
                                                                   Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 8 of 23



                  31.     As MR. ABELLA approached his car Officer Salazar was in the process

   of writing a parking ticket.       Officer Salazar stated that he was ordered by MAJOR

   BOCANEGRA to issue the parking ticket and that “Bocanegra is watching until I finish giving

   you the ticket.” Officer Salazar told MR. ABELLA that MAJOR BOCANEGRA was in the

   parking lot watching as he wrote out the ticket.     When MR. ABELLA returned to the police

   station to contest the ticket he was told to “take it up with Frank Bocanegra.”

                  32.     About an hour after the ticket was issued, MAJOR BOCANEGRA called

   MR. ABELLA and requested that he come to his office to discuss the parking ticket.          On the

   advice of his attorney, MR. ABELLA emailed MAJOR BOCANEGRA and declined the

   meeting.

                  33.      On August 13, 2008, MR. ABELLA received a call informing him that

   MAJOR BOCANEGRA had reviewed the ticket and had decided to tear it up.

                  34.     On or about August 20, 2008, OFFICER RODRIGUEZ followed and

   then began to drive parallel to MR. ABELLA’s car, intimidating the Abella family with hand

   gestures while MR. ABELLA and his wife drove their daughter to school.

                  35.     On or about August 21, 2008, MR. ABELLA saw OFFICER

   RODRIGUEZ driving next to the Miami Lakes K-8 Center as he was dropping his daughter off

   at school.

                  36.     On September 16, 2008, MR. ABELLA’s wife saw OFFICER

   RODRIGUEZ parked in the shopping center parking lot immediately across the street from the

   Abella residence.




                                             Page 8 of 23                Abella v. Officer Juan Rodriguez, et al.
                                                                         Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 9 of 23



                    37.    On September 17, 2008, MR. ABELLA again saw OFFICER

   RODRIGUEZ parked in the shopping center parking lot immediately across the street from the

   Abella residence.

                    38.    Once again, on September 18, 2008, MR. ABELLA saw OFFICER

   RODRIGUEZ in the parking lot immediately across the street from the Abella residence as he

   entered the shopping center.

                    39.   In September of 2008, MR. ABELLA and his wife, accompanied by their

   attorney, Mr. Glick, met with MAJOR BOCANEGRA. During this meeting Mr. Glick requested

   that Major Bocanegra take action to stop OFFICER RODRIGUEZ’s ongoing harassment of the

   Abella family.

                    40.   In November 2008, MR. ABELLA filed a complaint against OFFICER

   RODRIGUEZ with the Commission on Ethics & Public Trust. The complaint reported several

   incidents of harassment of MR. ABELLA and his family by OFFICER RODRIGUEZ. The

   Commission returned a Memorandum on January 29, 2009, dismissing the complaint against

   OFFICER RODRIGUEZ on the grounds that the complaint was not legally sufficient to “rise to

   the level of an ethics violation.”

                    41.    On or about February 17, 2009, at about 2:45 p.m., MR. ABELLA and his

   wife parked in front of the Miami Lakes K-8 Center and waited to pick their daughter up from

   school. While waiting, the Abellas noticed OFFICER RODRIGUEZ was speaking with Officer

   Torres in the school parking lot. Upon noticing OFFICER RODRIGUEZ, MR. ABELLA’s wife

   began photographing his presence at the school. When OFFICER RODRIGUEZ noticed MR.

   ABELLA’s wife taking photos, he quickly drove over to the Abella’s car and aggressively




                                           Page 9 of 23              Abella v. Officer Juan Rodriguez, et al.
                                                                     Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 10 of 23



    ordered MR. ABELLA to move his car. OFFICER RODRIGUEZ’s demeanor intimidated MR.

    ABELLA’s wife to cease taking photos.

                  42.    Next, OFFICER RODRIGUEZ issued MR. ABELLA a citation for

    parking in a no-parking space. There were two other cars parked in the same area. OFFICER

    RODRIGUEZ, however, only cited MR. ABELLA.

                  43.    While writing the citation, OFFICER RODRIGUEZ and MR. ABELLA

    exchanged words. OFFICER RODRIGUEZ stated, “ethics wasn’t going to do anything about

    his [MR. ABELLA’s] previous complaints against him.” MR. ABELLA’s wife responded by

    stating that OFFICER RODRIGUEZ “makes the other hardworking officers look bad” and that

    he “shouldn’t be wearing a badge.”       In response to Mrs. Abella’s statements, OFFICER

    RODRIGUEZ placed his hand on his gun and stated “I can remove my gun if you would like.”

                  44.    MR. ABELLA and his wife then called the Miami Lakes Police Station to

    file a complaint against OFFICER RODRIGUEZ.             Sergeant Barash filled out and filed a

    preliminary complaint with the Miami Dade County Professional Compliance Bureau. On April

    3, 2009, the Bureau issued a Memorandum in response to the preliminary complaint. The

    Memorandum stated that no further action was warranted in response to the complaint because

    OFFICER RODRIGUEZ denied making threatening statements to the Abellas. The report filed

    by Sergeant Barash did not accurately convey MR. ABELLA or his wife’s narrative of the

    incident with OFFICER RODRIGUEZ.

                  45.    On or about April 3, 2009, MR. ABELLA and his wife were trying to drop

    their daughter off at school but there were no available parking spaces. Due to the lack of

    parking, MR. ABELLA pulled into the driveway of a friend who lives across the street from the

    school and allows the Abellas to use the driveway at any time needed. MR. ABELLA’s wife and


                                            Page 10 of 23              Abella v. Officer Juan Rodriguez, et al.
                                                                       Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 11 of 23



    her daughter exited the car in the driveway and walked across the street to the school. About ten

    (10) minutes later, while MR. ABELLA drove back to the school to pick up his wife, OFFICER

    RIVERA waved MR. ABELLA into the entrance of a church parking lot located across the street

    from the school. OFFICER RIVERA ordered MR. ABELLA to park his car and then issued him

    a parking citation for illegally parking.

                   46.       About ten (10) minutes after OFFICER RIVERA issued the citation, MR.

    ABELLA arrived home. A few minutes later, OFFICER RIVERA arrived and parked in front of

    the Abella residence for an extended period of time.

                   47.       In an effort to document the continued police harassment and presence

    outside her home, MR. ABELLA’s wife began photographing OFFICER RIVERA.                    Upon

    noticing MR. ABELLA’s wife taking photos, OFFICER RIVERA screamed at her and asked if

    she wanted his badge number and the phone number for Internal Affairs in a taunting manner.

    MR. ABELLA’s wife was frightened by OFFICER RIVERA’s aggressive behavior and stopped

    taking photos out of fear that OFFICER RIVERA would take her camera by force.

                   48.       MR. ABELLA challenged the parking citation issued by OFFICER

    RIVERA on April 3, 2009, and requested a court date for the citation. On June 15, 2009 a

    hearing was held before Hearing Officer Tanya J. Brinkley. During the hearing, OFFICER

    RIVERA materially misrepresented how the events unfolded on April 3, 2009. Additionally,

    OFFICER RIVERA was visibly angered at the hearing. OFFICER RIVERA claimed he was

    upset because “Gus filed complaints against Miami Lakes police officers” and “it is because of

    him [MR. ABELLA] that I am at the school.” OFFICER RIVERA was repeatedly asked by the

    Court to calm down and show respect for both the Court and MR. ABELLA.              The hearing

    concluded with the Court finding MR. ABELLA not guilty.


                                                Page 11 of 23           Abella v. Officer Juan Rodriguez, et al.
                                                                        Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 12 of 23



                  49.     On or about September 19, 2009, OFFICER BAEZ parked his patrol car

    in front of the Abella home. There was another officer accompanying OFFICER BAEZ in the

    patrol car. After parking, OFFICER BAEZ approached the Abella home uninvited and without

    legitimate purpose or cause. While OFFICER BAEZ approached the Abella’s home, MR.

    ABELLA’s wife attempted to take pictures to document police presence on the property. Once

    at the sliding glass door of the Abella’s side porch, OFFICER BAEZ began to question MR.

    ABELLA’s wife as to why she was taking pictures. MR. ABELLA’s wife and their young

    daughter felt afraid and intimidated after this encounter with OFFICER BAEZ and as a result

    ceased taking pictures of OFFICER BAEZ.

                  50.      Later that day, MR. ABELLA and his wife called the Miami Dade Police

    Department to report OFFICER BAEZ’s conduct and requested that an officer come to their

    house to file a police report of the incident. Sergeant Taboada responded and shortly thereafter

    arrived at the Abella residence. A few minutes after Sergeant Taboada arrived, the officer that

    accompanied OFFICER BAEZ to the Abella residence earlier that day arrived and parked in

    front of the Abella residence. The police report does not accurately portray how the events

    unfolded and neither MR. ABELLA’s nor his wife’s statement or narrative were ever taken or

    recorded.

                  51.     On or about September 21, 2009, MR. ABELLA and his wife were

    dropping their daughter off at school when their daughter noticed and recognized OFFICER

    BAEZ from the incident at the Abella home a few days before. MR. ABELLA quickly took a

    picture of OFFICER BAEZ. MR. ABELLA’s wife and daughter exited the car, at which time

    MR. ABELLA drove off because he could not find parking.




                                            Page 12 of 23              Abella v. Officer Juan Rodriguez, et al.
                                                                       Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 13 of 23



                  52.     When MR. ABELLA returned to pick up his wife, he parked his car and

    started photographing OFFICER BAEZ again. At this time, OFFICER BAEZ approached the

    Abella’s car and aggressively pushed the camera into MR. ABELLA’s face to prevent him from

    taking pictures. MR. ABELLA, fearing physical violence or other retaliation, stopped taking

    photos of OFFICER BAEZ.

                  53.     On or about December 2, 2010, OFFICER RODRIGUEZ drove parallel to

    MR. ABELLA and his wife as they drove their daughter to school. On this particular occasion,

    OFFICER RODRIGUEZ aggressively made intimidating facial expressions and hand gestures

    toward MR. ABELLA and his family as he accelerated and decelerated recklessly around MR.

    ABELLA’s vehicle.        OFFICER RODRIGUEZ’s aggressive and intimidating actions on

    December 2, 2010, caused the Abella family, particularly their young daughter, to feel unsafe at

    school and fearful of future retaliation from OFFICER RODRIGUEZ and other police officers.

                  54.     Later that day, MR. ABELLA called Sergeant Soto, one of OFFICER

    RODRIGUEZ’S superior officers, and explained the dangerous encounter with OFFICER

    RODRIGUEZ on the roads of Miami Lakes that morning. That same day, MR. ABELLA’s wife

    emailed Miami Dade County Police Department Director, James Loftus, and the Professional

    Compliance Bureau to report OFFICER RODRIGUEZ’s reckless harassment earlier that

    morning.   To the best of MR. ABELLA’s knowledge, no action was taken to discipline

    OFFICER RODRIGUEZ in response to MR. ABELLA or his wife’s phone call or email.

                  55.     On April 9, 2012, OFFICER RIVERA arrived at the shopping center

    located at 18400 NW 75th Place in Miami Gardens. As driving instructors, MR. ABELLA and

    his wife frequently visit the shopping center when bringing students to the Florida Driver’s

    License Office located at that address. While in the shopping center parking lot, OFFICER


                                            Page 13 of 23              Abella v. Officer Juan Rodriguez, et al.
                                                                       Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 14 of 23



    RIVERA drove back and forth in front of the area where MR. ABELLA was standing.

    Eventually, OFFICER RIVERA exited his patrol car and walked towards MR. ABELLA.

    OFFICER RIVERA stood near MR. ABELLA and stared at MR. ABELLA in an intimidating

    manner.

                  56.     On or about the morning of May 18, 2012, MR. ABELLA’s car was

    parked in his assigned parking space at his apartment complex. The apartment complex has over

    200 parking spaces, including 30-40 visitor spaces. As MR. ABELLA walked towards his car

    OFFICER RIVERA sped quickly into the parking lot and parked his patrol car directly next to

    MR. ABELLA’s drivers side door and stared at MR. ABELLA in an intimidating fashion.

    OFFICER RIVERA remained in his parked patrol car for over an hour.

                  57.     On May 18, 2012, MR. ABELLA’s wife sent an email to Miami Dade

    Police Department Director, James Loftus, in regard to OFFICER RIVERA’s harassing conduct

    and requested that Director Loftus do something to prevent the ongoing harassment of the Abella

    family by Miami Dade County police officers assigned to the Town of Miami Lakes, FL. The

    email also detailed OFFICER RODRIGUEZ’s ongoing harassment of the Abella family.

                  58.     MR. ABELLA, his wife, and their young daughter have been traumatized

    by years of police harassment and intimidation. The Abella family feels unsafe in their home,

    neighborhood, and while driving on the streets of Miami Lakes due to years of ongoing and

    systematic police retaliation in response to the MR. ABELLA’s exercise of his rights secured by

    the First Amendment to the United States Constitution.




                                            Page 14 of 23             Abella v. Officer Juan Rodriguez, et al.
                                                                      Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 15 of 23



                                            COUNT I
                           Allegations against Officer Juan Rodriguez
    (42 U.S.C. § 1983 Against Defendant OFFICER RODRIGUEZ, Individually for violation of the
                                        First Amendment)

                   59.       MR. ABELLA repeats and realleges paragraphs 1 through 58, and

    incorporates them by reference herein.

                   60.    This cause of action is brought by MR. ABELLA against Defendant

    OFFICER RODRIGUEZ, in his individual and official capacity, for interfering with MR.

    ABELLA’s constitutional right of free speech as guaranteed by the First Amendment to the

    United States Constitution.

                   61.    The violation of MR. ABELLA’s First Amendment rights to free speech

    constitutes irreparable harm.

                   62.    At all relevant times, OFFICER RODRIGUEZ was acting in the course

    and scope of his duties as a Miami Dade County police officer assigned to the Town of Miami

    Lakes, FL.

                   63.    While acting under color of law, in February 2007, OFFICER

    RODRIGUEZ, personally deprived MR. ABELLA of his First Amendment right to freedom of

    speech and political expression when OFFICER RODRIGUEZ ordered MR. ABELLA to

    remove a political sign from his vehicle and threatened to cite MR. ABELLA if he did not

    comply with the order.

                   64.    By ordering MR. ABELLA to remove the sign from his truck under threat

    of citation, OFFICER RODRIGUEZ directly suppressed MR. ABELLA’s speech in violation of

    the First Amendment to the United States Constitution.

                   65.    Even though MR. ABELLA never removed the sign from his vehicle,

    OFFICER RODRIGUEZ’s threat to issue a citation was an ultimatum in violation of MR.

                                             Page 15 of 23          Abella v. Officer Juan Rodriguez, et al.
                                                                    Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 16 of 23



    ABELLA’s First Amendment rights and is sufficient to demonstrate an injury and would likely

    deter a person of ordinary firmness from the exercise of their First Amendment rights.

                   66.    OFFICER RODRIGUEZ’s actions were taken to unlawfully chill MR.

    ABELLA’s First Amendment right to freely express his political opinions.

                   67.     Additionally, OFFICER RODRIGUEZ’s actions did not reasonably

    advance a legitimate correctional goal.

                   68.    In the years since the February 2007 Town Hall meeting, OFFICER

    RODRIGUEZ has repeatedly harassed and intimidated MR. ABELLA and his family in

    retaliation for MR. ABELLA’s conviction in the expression of his political opinions, reporting

    OFFICER RODRIGUEZ’s misconduct to his superior officers, and photographing OFFICER

    RODRIGUEZ in public places.

                   69.     OFFICER RODRIGUEZ has repeatedly harassed MR. ABELLA and his

    family by continually showing up at the Abella’s daughter’s school, outside the Abella residence,

    and in the shopping center parking lot across the street from the Abella residence. OFFICER

    RODRIGUEZ’s unlawful retaliatory acts of harassment and intimidation caused MR. ABELLA

    harm and he is entitled to declaratory judgment, compensatory and punitive damages, and such

    other relief that the Court deems appropriate under 28 U.S.C § 2202, against OFFICER

    RODRIGUEZ for interference with his First Amendment rights.

                                           COUNT II
                            Allegations Against Officer Richard Baez
     (42 U.S.C. § 1983 Against Defendant OFFICER BAEZ, Individually, for violation of the First
                                          Amendment)

                   70.     MR. ABELLA repeats and realleges paragraphs 1 through 58, and

    incorporates them by reference herein.



                                              Page 16 of 23             Abella v. Officer Juan Rodriguez, et al.
                                                                        Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 17 of 23



                    71.   This cause of action is brought by MR. ABELLA against Defendant

    OFFICER BAEZ, in his individual and official capacity, for interfering with MR. ABELLA’s

    constitutional rights of free speech as guaranteed by the First Amendment to the United States

    Constitution.

                    72.   The violation of MR. ABELLA’s First Amendment right to free speech

    constitutes irreparable harm.

                    73.   At all relevant times, OFFICER BAEZ was acting in the course and scope

    of his duties as a Miami Dade County Police Officer assigned to the Town of Miami Lakes, FL.

                    74.     On or about September 21, 2009, OFFICER BAEZ directly violated MR.

    ABELLA’s First Amendment right to photograph police in public places.

                    75.   On or about September 21, 2009, MR. ABELLA photographed OFFICER

    BAEZ at the Miami Lakes K-8 Center. When OFFICER BAEZ noticed MR. ABELLA taking

    photos, he approached the Abella’s car and aggressively pushed the camera into MR. ABELLA’s

    face to prevent him from taking pictures.   MR. ABELLA, fearing physical violence or other

    retaliation, stopped taking photos of OFFICER BAEZ. Such aggression from a police officer

    would likely deter a person of ordinary firmness from the exercise of their First Amendment

    rights.

                    76.   OFFICER BAEZ was at the Miami Lakes K-8 Center on September 21,

    2009, for the purpose of harassing and intimidating MR. ABELLA and his family. OFFICER

    BAEZ is not one of the safety officers assigned to the Miami Lakes K-8 Center.

                    77.   OFFICER BAEZ’s actions on September 21, 2009, were taken in

    retaliation for the complaint MR. ABELLA’s filed against OFFICER BAEZ two days earlier on

    September 19, 2009.


                                            Page 17 of 23              Abella v. Officer Juan Rodriguez, et al.
                                                                       Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 18 of 23



                   78.      OFFICER BAEZ’s unlawful retaliatory acts directly deprived MR.

    ABELLA of his First Amendment right to photograph police officers in public places and to file

    complaints against government conduct.

                   79.      OFFICER BAEZ’s actions had the unlawful chilling effect on MR.

    ABELLA’s First Amendment right to photograph police in public places as MR. ABELLA

    ceased taking photos.

                   80.      Additionally, OFFICER BAEZ’s actions did not reasonably advance a

    legitimate correctional goal.

                   81.      OFFICER BAEZ’s unlawful retaliatory acts of harassment and

    intimidation caused MR. ABELLA harm and he is entitled to declaratory judgment,

    compensatory and punitive damages, and such other relief that the Court deems appropriate

    under 28 U.S.C § 2202, against OFFICER BAEZ for interference with his First Amendment

    rights.

                                           COUNT III
                           Allegations Against Officer Benjamin Rivera
    (42 U.S.C. § 1983 Against Defendant OFFICER RIVERA, Individually, for violation of the First
                                           Amendment)

                   82.      MR. ABELLA repeats and realleges paragraphs 1 through 58, and

    incorporates them by reference herein.

                   83.      OFFICER RIVERA personally participated in the pattern of harassment

    and intimidation inflicted upon MR. ABELLA since the February 2007 Town Hall meeting when

    he issued MR. ABELLA a parking citation on April 3, 2009.

                   84.      MR. ABELLA challenged the citation and at the June 15, 2009, hearing

    OFFICER RIVERA claimed he was upset because “Gus filed complaints against Miami Lakes

    police officers” and “it is because of him [MR. ABELLA] that I am at the school.”

                                             Page 18 of 23             Abella v. Officer Juan Rodriguez, et al.
                                                                       Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 19 of 23



                   85.     OFFICER RIVERA issued MR. ABELLA a parking citation and followed

    him home on April 3, 2009, for the purpose of harassing and intimidating MR. ABELLA and his

    family in retaliation for MR. ABELLA’s reporting police misconduct and filing complaints

    against several police officers assigned to the Town of Miami Lakes, FL. Such aggression from

    a police officer would likely deter a person of ordinary firmness from the exercise of their First

    Amendment rights.

                   86.     OFFICER RIVERA’s unlawful retaliatory acts were taken in an attempt

    to intimidate MR. ABELLA into refraining from reporting police misconduct in the future.

                   87.     OFFICER RIVERA’s actions were an unlawful attempt to chill MR.

    ABELLA’s First Amendment right to report police misconduct.

                   88.     Additionally, OFFICER RIVERA’s actions did not reasonably advance a

    legitimate correctional goal.

                   89.     OFFICER RIVERA’s unlawful retaliatory acts of harassment and

    intimidation caused MR. ABELLA harm and he is entitled to a declaratory judgment,

    compensatory and punitive damages, and such other relief that the Court deems appropriate

    under 28 U.S.C § 2202, against OFFICER RIVERA for interference with his First Amendment

    rights.

                                               COUNT IV
                           Allegations Against Major Frank C. Bocanegra
     (42 U.S.C. § 1983 Against Defendant MAJOR BOCANEGRA, Individually and in his Official
            Capacity, for Policy to Retaliate against MR. ABELLA and to Suppress Speech)

                   90.     MR. ABELLA repeats and realleges paragraphs 1 through 58, and

    incorporates them by reference herein.

                   91.     This cause of action is brought by MR. ABELLA against Defendant

    MAJOR BOCANEGRA in his individual and official capacity, for interfering with MR.

                                             Page 19 of 23               Abella v. Officer Juan Rodriguez, et al.
                                                                         Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 20 of 23



    ABELLA’s constitutional right of free speech as guaranteed by the First Amendment to the

    United States Constitution.

                   92.     MAJOR BOCANEGRA has employed a policy of deliberate indifference

    to the repeated violations of MR. ABELLA’s civil rights by officers under MAJOR

    BOCANEGRA’s control or supervision. MAJOR BOCANEGRA was a supervisor of many

    police officers assigned to the Town of Miami Lakes, FL., including Defendants OFFICER

    RODRIGUEZ, OFFICER BAEZ, and OFFICER RIVERA.

                   93.     In addition, MAJOR BOCANEGRA has violated MR. ABELLA’s First

    Amendment rights by personally participating in the ongoing harassment of MR. ABELLA.

    A. DELIBERATE INDIFFERENCE TO CONSTITUTIONAL VIOLATIONS

                   94.     MAJOR BOCANEGRA repeatedly employed a policy of deliberate

    indifference to MR. ABELLA’s repeated complaints against MAJOR BOCANEGRA’s

    subordinate officers and has failed to discipline or prevent their misconduct.

                   95.       MAJOR BOCANEGRA had actual and constructive knowledge that his

    subordinates were repeatedly acting unlawfully by harassing MR. ABELLA and his family in

    retaliation for MR. ABELLA’s expression of his First Amendment rights.

                   96.     Since April of 2007, MAJOR BOCANEGRA has consistently failed to

    take action in response to MR. ABELLA’s complaint letters and emails, and has thereby

    acquiesced to the pattern of harassment inflicted upon MR. ABELLA and his family by police

    officers under MAJOR BOCANEGRA’s command.

                   97.       To the best of MR. ABELLA’s knowledge MAJOR BOCANEGRA has

    taken no meaningful action in response to their repeated complaints of officer misconduct

    against OFFICER RODRIGUEZ or any other officer named as a Defendant in this action.


                                              Page 20 of 23               Abella v. Officer Juan Rodriguez, et al.
                                                                          Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 21 of 23



    B. PERSONAL PARTICIPATION

                    98.      On August 12, 2008, MAJOR BOCANEGRA personally violated MR.

    ABELLA’s First Amendment rights when he ordered Officer Salazar, an inferior officer, to issue

    MR. ABELLA a parking ticket while MR. ABELLA was parked outside of the Town of Miami

    Lakes City Hall.

                    99.       When MAJOR BOCANEGRA ordered a subordinate officer to issue

    MR. ABELLA a parking citation he personally participated in the ongoing pattern of harassment

    and intimidation which MR. ABELLA has been subjected to since the February 2007 Town Hall

    meeting.

                    100.    MAJOR BOCANEGRA’s actions on August 12, 2008, were taken in

    retaliation for MR. ABELLA’s filing of lawsuits and complaints against city officials and Miami

    Dade County police officers assigned to the Town of Miami Lakes, FL., and for MR. ABELLA’s

    expression of his political beliefs.

                    101.     MAJOR BOCANEGRA has caused MR. ABELLA harm by displaying

    an attitude of deliberate indifference to MR. ABELLA’s repeated complaints of officer

    misconduct and has personally participated in the ongoing pattern of harassment and retaliation

    that has violated MR. ABELLA’s civil rights.

                                      DEMAND FOR JURY TRIAL

    Plaintiff, MR. ABELLA, hereby demands a jury trial of all issues so triable.



   WHEREFORE, Plaintiff, MR. ABELLA, respectfully requests this Court:

                A. Enter a judgment in favor of Plaintiff MR. ABELLA, and against Defendants,
                   OFFICER RODRIGUEZ, OFFICER BAEZ, OFFICER RIVERA, and MAJOR
                   BOCANEGRA;


                                             Page 21 of 23              Abella v. Officer Juan Rodriguez, et al.
                                                                        Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 22 of 23



              B. Enter a declaratory judgment that the actions of Defendants, OFFICER
                 RODRIGUEZ, OFFICER BAEZ, OFFICER RIVERA, and MAJOR
                 BOCANEGRA, violated Plaintiff MR. ABELLA’s rights secured by the First
                 Amendment to the United States Constitution;

              C. Award Plaintiff MR. ABELLA appropriate compensatory damages against
                 Defendants, OFFICER RODRIGUEZ, OFFICER BAEZ, OFFICER RIVERA,
                 and MAJOR BOCANEGRA;

              D. Award Plaintiff MR. ABELLA punitive damages against Defendants, OFFICER
                 RODRIGUEZ, OFFICER BAEZ, OFFICER RIVERA and MAJOR
                 BOCANEGRA for knowing violation of MR. ABELLA’s constitutional rights
                 secured under the First Amendment to the United States Constitution;

              E. Award Plaintiff MR. ABELLA’s counsel reasonable attorneys' fees and costs
                 pursuant to 42 U.S.C. § 1988 and any other applicable provision of the law; and

              F. Grant Plaintiff MR. ABELLA any other and further relief as this Court deems just
                 and proper under the circumstances.


    Dated: January 31, 2014                          Respectfully submitted:

                                                     s/Gregory A. Samms_
                                                     Gregory A. Samms, Esq.
                                                     Lead Attorney for Plaintiff
                                                     FL Bar No.: 438863
                                                     225 Alcazar Avenue
                                                     Coral Gables, FL 33134
                                                     FL Bar No.: 438863
                                                     Tel: (786) 953-5802
                                                     Fax: (786) 513-3191
                                                     Email: sammslaw@gmail.com



                                CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that an original and a true and correct copy of the foregoing
    Plaintiff’s Fourth Amended Complaint was delivered under the auspices of CM/ECF to all
    parties of record on this 31st day of January, 2014.


                                                     s/Gregory A. Samms_
                                                     Gregory A. Samms, Esq.
                                                     Lead Attorney for Plaintiff

                                           Page 22 of 23             Abella v. Officer Juan Rodriguez, et al.
                                                                     Case No.: 11-20152-CIV
Case 1:11-cv-20152-CMA Document 175 Entered on FLSD Docket 02/01/2014 Page 23 of 23



                                             FL Bar No.: 438863
                                             225 Alcazar Avenue
                                             Coral Gables, FL 33134
                                             FL Bar No.: 438863
                                             Tel: (786) 953-5802
                                             Fax: (786) 513-3191
                                             Email: sammslaw@gmail.com




                                   Page 23 of 23          Abella v. Officer Juan Rodriguez, et al.
                                                          Case No.: 11-20152-CIV
